       Case 2:15-cv-01045-RFB-BNW Document 747 Filed 09/23/19 Page 1 of 2



                              THE UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEVADA
                                           ****

 CUNG LE, et al.,

               Plaintiffs,                                       2:15-cv-01045-RFB-BNW

 vs.                                                             DATE: September 23, 2019

 ZUFFA, LLC,                                                     Courtroom 7C

               Defendant.


THE HONORABLE RICHARD F. BOULWARE, II, UNITED STATES DISTRICT JUDGE

DEPUTY CLERK: Blanca Lenzi COURT RECORDER: Kimberly Ribaric

COUNSEL FOR PLAINTIFFS: Eric Cramer, Esq., Mark Suter, Esq., Patrick Madden, Esq., Joshua
Davis, Esq.

COUNSEL FOR DEFENDANT: Stacy Grisby, Esq., William Isaacson, Esq., Marcy Lynch, Esq., Brent
Nakumera, Esq., Rich McKnight, Esq.

MINUTES OF PROCEEDINGS: Evidentiary Hearing – Day 7

The Court convened at 9:33 AM in Richmond, VA.

The Court makes preliminary statements and rules for the record the following;
The Court DENIES [641] and [648] MOTIONS to Seal are DENIED and [626] MOTION to Seal is
DENIED without prejudice as moot. The Court GRANTS [602] [608], [614], [622], [630], [635],
[637], [656], [659], and [665] MOTIONS to Seal.

Joe Silva, is sworn and testifies on direct examination by Mr. Cramer. Cross examination by
Ms. Grisby. Redirect by Mr. Cramer. Mr. Silva is then excused.

The Court hears representations from counsel regarding the submission of exhibit and joint
exhibits. Counsel is directed to file a joint stipulation for exhibits as identified on the record at
the hearing.




                                              Page 1 of 2
     Case 2:15-cv-01045-RFB-BNW Document 747 Filed 09/23/19 Page 2 of 2



Cung Lee, et al, v. Zuffa, LLC
Case no. 2:15-cv-01045-RFB-BNW
Evidentiary Hearing – Day 7, September 23, 2019
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Court recessed at 11:46 AM.
Court reconvened at 12:03 PM

The Court redacts exhibit PCCX-41 as stated on the record. A written order on [518] MOTON to
Certify Class will issue.

The transcript of the hearing shall serve as the written Opinion and Order of the Court as to the
Motions to Seal.

The Court adjourned at 12:13 PM.


                                                            DEBRA K. KEMPI, CLERK
                                                            U.S. DISTRICT COURT

                                                            BY:         /S/                 d
                                                            Blanca Lenzi, Deputy Clerk




                                             Page 2 of 2
